Case 3:11-cr-01448-MMA   Document 1804       Filed 07/23/15   PageID.6605   Page 1 of
                                         5
Case 3:11-cr-01448-MMA   Document 1804       Filed 07/23/15   PageID.6606   Page 2 of
                                         5
Case 3:11-cr-01448-MMA   Document 1804       Filed 07/23/15   PageID.6607   Page 3 of
                                         5
Case 3:11-cr-01448-MMA   Document 1804       Filed 07/23/15   PageID.6608   Page 4 of
                                         5
Case 3:11-cr-01448-MMA   Document 1804       Filed 07/23/15   PageID.6609   Page 5 of
                                         5
